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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


 UNITED STATES of AMERICA                  )
                                           )
        vs.                                )        No. 16-cr-00363-JKB
                                           )
 GERALD JOHNSON, et al.                    )
                                           )
                Defendants                  )

                           JOINT MOTION FOR A NEW TRIAL

       Now comes Defendants, Gerald Johnson, Kenneth Jones, and Marquise

McCants, by their respective attorneys, and hereby moves this Honorable Court

pursuant to Federal Rule of Criminal Procedure 33, to grant these defendants a new

trial. In support of this motion, the defendants state as follows:

       1. The indictment in this case charged Defendants with racketeering conspiracy,

and conspiracy to distribute, or possess with intent to distribute, controlled substances.

18 U.S.C. § 1962(d); 21 U.S.C. § 846. Defendant Gerald Johnson was also charged

with conspiracy to commit murder in aid of racketeering, 18 U.S.C. §1959(a)(5), murder

in aid of racketeering, 18 U.S.C. §1959(a)(5), and possession of ammunition by a felon.

18 U.S.C. § 922(g)(1).        Defendant Marquise McCants was also charged with

possession of a firearm by a felon. 18 U.S.C. § 922(g)(1).

       2. Defendants Johnson, McCants, and Jones were tried before a jury and

convicted on all counts on January 25, 2018.

       3. The grounds for this Motion are fully set forth in the accompanying

Memorandum in Support.

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       WHEREFORE, Defendants respectfully requests that:

       A. This Honorable Court schedule a hearing on this Motion for New Trial.

       B. This Honorable Court grant a new trial in this matter

       C. For such other further relief as the nature of the defendant’s cause may

require.

                                         Respectfully Submitted,


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                                      Counsel for Defendant Marquise McCants




                                REQUEST FOR HEARING

        Pursuant to Rule 105.6 of the local rule of the United States District Court for the
District of Maryland, a hearing is requested on the Defendants’ Motion.


                                                  ___________/s/________________
                                                  John R. Francomano III, Esquire
                                                   Paul F. Enzinna, Esquire
                                                   Jeffrey B. O’Toole, Esquire
                                                   Alan R.L. Bussard, Esquire




                               CERTIFICATE OF SERVICE

        I certify that on February 8, 2018, a copy of the foregoing Defendants’ Joint
Motion for a New Trial was filed using the CM/ECF system, with a notice of said filing to
the following:

     Peter J. Martinez, Esquire
     Christina A. Hoffman, Esquire
     Ass. U.S. Attorneys
     36 S. Charles Street, Fourth Floor
     Baltimore, Maryland 21201



                                                  ___________/s/________________
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                                                   Jeffrey B. O’Toole, Esquire
                                                   Alan R.L. Bussard, Esquire


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